191 F.2d 733
    James William COLLIER, Appellant,v.UNITED STATES HOSPITAL FOR DEFECTIVE DELINQUENTS, AND ITS OFFICERS AND AGENTS, SPRINGFIELD, MISSOURI.
    No. 14326.
    United States Court of Appeals Eighth Circuit.
    September 18, 1951.
    
      Appeal from the United States District Court, for the Western District of Missouri.
      James William Collier, pro se.
      Sam M. Wear, U. S. Atty., Kansas City, Mo., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed for want of prosecution.
    
    